                                                                                                                  Exhibit 4
Hooker, Linda

From:                                 Valerie Bateman <valerie@newsouthlawfirm.com>
Sent:                                 Monday, June 24, 2024 11:45 AM
To:                                   Stricklin, Jill
Cc:                                   Doaks, Nia
Subject:                              RE: J Sullivan - Will Bryant availability for depo [IMAN-WORKSITE.FID2975693]



Jill, I think I previously indicated that I have a pre-trial conference scheduled for July 8. It will be next to
impossible and costly to schedule the deposifion with the caveat that if the pre-trial conference is not over, I
will not be able to aftend because there would then be the court reporter cost, etc. I ﬁnd this a less than
opfimal situafion and would rather look to his next available date that works for everyone and jointly ask the
Court to extend the discovery deadline to accommodate that date. Are you amenable to this
solufion? Valerie




June is Pride Month.
Support all those who follow their arrow, wherever it points.

If you are neutral in situafions of injusfice, you have chosen the side of the oppressor. -Desmond Tutu

“The arc of the moral universe is long, but it bends toward jusfice.”-Theodore Parker




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such services, and unless and until such time as an engagement letter is signed by both parties, the above is for
informational purposes only and should not be considered legal advice.

From: Stricklin, Jill <jstricklin@constangy.com>
Sent: Monday, June 24, 2024 9:54 AM
                                                                   1



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To: Valerie Bateman <valerie@newsouthlawfirm.com>
Cc: Doaks, Nia <ndoaks@constangy.com>
Subject: RE: J Sullivan - Will Bryant availability for depo [IMAN-WORKSITE.FID2975693]

Good morning, Valerie. Will Bryant can be available for a deposifion (remotely or at UNC Health’s Morrisville locafion)
from 2:30 – 4:30 PM on Monday, July 8th. Please let us know as soon as possible if this date/fime will work. This seems to
be the only workable fime on his calendar at this point. Thanks, Jill



Jill Stricklin
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From: Stricklin, Jill
Sent: Friday, June 21, 2024 5:21 PM
To: 'Valerie Bateman' <valerie@newsouthlawfirm.com>
Cc: Doaks, Nia <ndoaks@constangy.com>
Subject: RE: J Sullivan - UNC Health's Discovery Follow up [IMAN-WORKSITE.FID2975693]

Hi Valerie,

No update yet about Will Bryant’s deposifion. We’ll confinue our eﬀorts. Jill



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From: Stricklin, Jill
Sent: Friday, June 21, 2024 11:58 AM
To: Valerie Bateman <valerie@newsouthlawfirm.com>
Cc: Doaks, Nia <ndoaks@constangy.com>
Subject: RE: J Sullivan - UNC Health's Discovery Follow up [IMAN-WORKSITE.FID2975693]

Hi Valerie,

Thanks for your email. Yes, we’ve been researching the quesfion you raised about Paul Bednar’s email as well as a few
other document quesfions that arose during the deposifion. We’ve retrieved the original email from Mr. Bednar – the
one that was produced was a PDF of a document saved by HR. A screenshot of the full email from the review plafform is
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below. We’ll work with our ediscovery folks on gefting the document downloaded and numbered for producfion. I
anficipate gefting it to you early next week.

We’ve determined that Will Bryant is no longer available for deposifion on June 28th, as originally oﬀered. We’re trying
to determine what feasible alternafives exist. I expect to hear further on that this afternoon and will get back to you as
soon as I do. (Actually, I’d hoped to hear this morning, but didn’t want to delay gefting this response to you while we
await further word.)

As to Tracy Parham, UNC Health will not agree to make her available for deposifion. There are several bases for our
objecfions, but they primarily relate to Ms. Parham’s lack of knowledge of mafters related to the parfies’ claims and
defenses, as well as proporfionality and “apex doctrine” concerns given her status as a top execufive.

Jill




Jill Stricklin
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From: Valerie Bateman <valerie@newsouthlawfirm.com>
Sent: Thursday, June 20, 2024 3:54 PM
To: Stricklin, Jill <jstricklin@constangy.com>
Subject: RE: J Sullivan - UNC Health's Discovery Follow up

Jill, I wanted to follow up and ensure that you noted we would like the complete email from Paul Bednar
transmifting his scores to Ryan Rotar.

I am also inquiring about Will Bryant’s availability and that of Tracy Parham for deposifion.




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From: Stricklin, Jill <jstricklin@constangy.com>
Sent: Tuesday, May 28, 2024 4:15 PM
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To: Valerie Bateman <valerie@newsouthlawfirm.com>; June Allison <june@newsouthlawfirm.com>
Cc: Doaks, Nia <ndoaks@constangy.com>; Hooker, Linda <lhooker@constangy.com>; Canter, Rebekah
<rcanter@constangy.com>
Subject: J Sullivan - UNC Health's Discovery Responses [IMAN-WORKSITE.FID2975693]

Hi Valerie and June,

Aftached are Defendant’s responses to plainfiﬀ’s ﬁrst set of interrogatories and second requests for producfion in the
mafter involving Jack Sullivan and UNC Health.

We’re in the process of preparing for producfion the documents referenced in the discovery responses, including
Defendant’s privilege log. These documents, along with a veriﬁcafion of the interrogatory answers, will be provided as
soon as they are available.

Thanks, Jill



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